

Matter of Attorneys in Violation of Judiciary Law § 468-a (Lee) (2022 NY Slip Op 07134)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Lee)


2022 NY Slip Op 07134


Decided on December 15, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 15, 2022

PM-223-22
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Karline Louisa Lee, Respondent. (Attorney Registration No. 4957072.)

Calendar Date:October 3, 2022

Before:Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Karline Louisa Lee, Sunrise, Florida, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by October 2021 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 198 AD3d 1068, 1080 [3d Dept 2021]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's affidavit with exhibits sworn to August 31, 2022, the September 30, 2022 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department and respondent's reply correspondence with exhibit dated October 11, 2022, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Toussaint], 196 AD3d 830, 830-831 [3d Dept 2021]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.








